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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

ART AKIANE, LLC,                             )
                                             )
       Plaintiff,                            )
                                             )              Civil Action No. 19-cv-02952
       v.                                    )              Judge Edmond E. Chang
                                             )
ART & SOULWORKS LLC,                         )
CAROL CORNELIUSON, and                       )
CARPENTREE, INC.                             )
                                             )
       Defendants.                           )


            CARPENTREE, INC.’S ANSWER AND AFFIRMATIVE DEFENSES
                  TO PLAINTIFF’S FIRST AMENDED COMPLAINT
                 AND CROSS-CLAIMS AGAINST CO-DEFENDANTS
             ART & SOULWORKS LLC AND CAROLYNE CORNELIUSON

       1.      Plaintiff Art Akiane LLC (“Art Akiane”) brings this action against Defendants

Carol Corneliuson (“Corneliuson”), Art & SoulWorks LLC (“ASW”), and Carpentree, Inc.

(“Carpentree”) (collectively “Defendants”) because of Defendants’ illicit copying and distribution

of Akiane Kramarik’s artwork, trademark infringement, deceptive trade practices, unfair

competition, and Defendants’ other violations of federal and state law.

ANSWER:        Carpentree denies that it engaged in any of the conduct alleged by Plaintiff in
               Paragraph 1.


       2.      Akiane Kramarik is an internationally renowned artist who has been recognized as

a gifted child prodigy and garnered international acclaim for her works. She has appeared on the

Oprah Winfrey Show, and been featured on the Katie Couric Show, World News Tonight, Good

Morning America, CNN, The View, Fox News, the Montel Williams Show, and many others.

ANSWER:        Carpentree lacks knowledge or information sufficient for it to form a belief about
               the truth of the allegations set forth in Paragraph 2.
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       3.      In 2007, Akiane licensed to ASW the right to print certain artwork on bookmarks,

journals, wallet cards, calendars, and greeting cards for sale, through her licensing company, Art

Akiane LLC, the plaintiff in this matter. ASW was required to pay a 10% royalty fee to Art Akiane

for items sold under the license. The license expired on January 11, 2019.

ANSWER:        Carpentree lacks knowledge or information sufficient for it to form a belief about
               the truth of the allegations set forth in Paragraph 3.


       4.      Unknown to Art Akiane, Corneliuson and ASW hid and underreported sales, made

and sold counterfeit works, and printed and distributed illicit copies of Akiane’s artwork.

ANSWER:        Carpentree lacks knowledge or information sufficient for it to form a belief about
               the truth of the allegations set forth in Paragraph 4.


       5.      For instance, before and after ASW’s license expired in January 2019, Corneliuson

and ASW printed various illicit and counterfeit versions of Art Akiane’s artwork without

permission, and then sold the illicit artwork to consumers on ASW’s website and via various

vendors, including Defendant Carpentree. Carpentree then sold the illicit and counterfeit artwork

to consumers and other resellers.

ANSWER:        Carpentree lacks knowledge or information sufficient for it to form a belief about
               the truth of the allegations set forth in Paragraph 5.


       6.      Defendants also took postcards and wallet cards and framed them to look like

legitimate framed artwork by Akiane, in order to deceive customers into thinking that they were

purchasing legitimate artwork by Akiane.

ANSWER:        As to itself, Carpentree admits that it sold framed postcards and wallet cards, but
               denies the balance of paragraph 6. As to any other Defendant, Carpentree lacks
               knowledge or information sufficient for it to form a belief about the truth of the
               allegations set forth in Paragraph 6.



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        7.     Furthermore, Corneliuson and ASW further induced the public to download illegal

“free” copies of Akiane’s artwork from ASW’s website before and after the licensing agreement

expired, and Corneliuson and ASW continue to misrepresent that they are the authorized source

and representatives of Akiane’s artwork.

ANSWER:        Carpentree lacks knowledge or information sufficient for it to form a belief about
               the truth of the allegations set forth in Paragraph 7.


        8.     For instance, ASW’s website states that ASW is the “[t]rusted [s]ource for ‘Prince

of Peace’ high-quality reproductions” and “everyone who visits Art & SoulWorks is invited to

download a portrait of Jesus, free of charge.” See, e.g. Exhibit A.

ANSWER:        Carpentree lacks knowledge or information sufficient for it to form a belief about
               the truth of the allegations set forth in Paragraph 8.


        9.     Upon information and belief, Corneliuson and ASW also hid sales of Akiane

products and underreported revenue by at least $464,730.26, and kept royalties that should have

been paid to Art Akiane.

ANSWER:        Carpentree lacks knowledge or information sufficient for it to form a belief about
               the truth of the allegations set forth in Paragraph 9.


        10.    Accordingly, Art Akiane seeks relief from this Court.

ANSWER:        Carpentree denies Art Akiane is entitled to any relief sought.


I.      THE PARTIES

        11.    Art Akiane LLC is an Illinois limited liability company with its principal place of

business at 833 Central Ave., Unit 1250, Highland Park, IL 60035. Art Akiane is the intellectual

property holding company of Akiane Kramarik, and Akiane Kramarik has transferred all right,

title and interest in her artwork, and name and likeness, to Art Akiane.

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ANSWER:        Carpentree lacks knowledge or information sufficient for it to form a belief about
               the truth of the allegations set forth in Paragraph 11.


        12.    Upon information and belief, Art & SoulWorks LLC is a Colorado limited liability

company with its principal place of business at 214 Ranch Road, Evergreen, CO 80439.

ANSWER:        Carpentree lacks knowledge or information sufficient for it to form a belief about
               the truth of the allegations set forth in Paragraph 12.


         13.   Corneliuson is an individual who, on information and belief, resides at 214 Ranch

Road, Evergreen, CO 80439. Upon information and belief, Corneliuson is the owner and sole

member of Art & SoulWorks LLC.

ANSWER:        Carpentree lacks knowledge or information sufficient for it to form a belief about
               the truth of the allegations set forth in Paragraph 13.


         14.   Upon information and belief, Carpentree, Inc. is an Oklahoma corporation with its

principal place of business at 9410 East 54th Street, Tulsa, OK 74145.

ANSWER:        Admitted.


II.      STATUTORY BASIS AND NATURE OF ACTION

         15.   This action is for: (1) copyright infringement under the Copyright Act, 17 U.S.C.

§§ 101, et seq.; (2) unfair competition of false designation of origin under § 43(a) of the Lanham

Act, 15 U.S.C. § 1125(a); (3) unfair competition under Illinois common law; (4) deceptive trade

practices under the Illinois Uniform Deceptive Trade Practices Act, 815 ILCS §§ 510/1-510/7; (5)

unjust enrichment under Illinois common law; (6) removal and alteration of copyright management

information under the Digital Millennium Copyright Act (“DMCA”), 17 U.S.C. § 1202; (7)

violation of the Anti-Cybersquatting Consumer Protection Act, 15 U.S.C. § 1125(d); (8) tortious

interference with a prospective economic advantage under Illinois common law; (9) violation of

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the Illinois Right of Publicity Act, 765 ILCS § 1075/1-60; and (10) breach of contract under Illinois

common law.

ANSWER:        Carpentree admits that paragraph 15 summarizes the causes of action asserted in
               the Complaint, but denies Plaintiff is entitled to any relief sought.


       16.     Art Akiane seeks preliminary and permanent injunctive relief, and an award of

profits and statutory damages, among other remedies.

ANSWER:        Carpentree admits Plaintiff seeks the relief described in this paragraph, but denies
               it is entitled to said relief.


III.   JURISDICTION AND VENUE

       17.     This Court has subject matter jurisdiction to hear and determine this controversy

pursuant to 28 U.S.C. §§ 1331 and 1338 because the action arises under the federal Copyright Act

and Lanham Act. See 17 U.S.C. §§ 101, et seq.; 15 U.S.C. §§ 1051, et seq.

ANSWER:        Admitted.


       18.     This Court has supplemental jurisdiction to hear and determine the state law claims,

which arise under the statutory and common laws of the State of Illinois, pursuant to 28 U.S.C. §

1367(a), because the state law claims are so related to the federal claims that they form part of the

same case or controversy under Article III of the United States Constitution and derive from a

common nucleus of operative facts.

ANSWER:        Admitted.


       19.     This Court also has diversity jurisdiction over this matter pursuant to 28 U.S.C. §

1332, in that complete diversity of citizenship between the parties exists, and the amount in

controversy exceeds the sum or value of $75,000, exclusive of interests and costs.



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ANSWER:        Admitted.


       20.     Venue and personal jurisdiction are proper in the Northern District of Illinois under

28 U.S.C. § 1391(b) and (c) because a substantial part of the events giving rise to the claims herein

occurred in this District and Defendants have promoted infringing goods in this District.

ANSWER:        Carpentree submits to the jurisdiction and venue in this Court, but denies that a
               substantial part of the events giving rise to the claims occurred in this District and
               therefore denies the allegations contained in paragraph 20.


       21.     This Court has personal jurisdiction over Defendants because Defendants have

continuous and systematic contacts with the state of Illinois, because they have purposefully

directed their activities toward the state of Illinois, causing harm suffered in the state of Illinois,

and because this action is based upon activities that arise out of or relate to those contacts.

Defendants also target consumers in Illinois in the sale of goods, and Corneliuson and ASW had

contracted with Plaintiff, an Illinois company.

ANSWER:    Carpentree denies the allegations as stated in paragraph 21 but submits to the
           jurisdiction of this court for purposes of this dispute.
IV.    FACTUAL BACKGROUND

       A.      Akiane Kramarik and Art Akiane

       22.     Akiane comes from humble beginnings, having been born and raised in abject

poverty. She began creating her artwork, including many of the Works (as defined in paragraph

30 below) at age four. Despite the challenges she faced growing up, she worked hard to develop

her artistic talent, creating hundreds of original and renowned masterpieces over the past two

decades.

ANSWER:        Carpentree lacks knowledge or information sufficient for it to form a belief about
               the truth of the allegations set forth in Paragraph 22.




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       23.     Throughout her young life, Akiane developed her skillset through no formal

training: she began drawing complex and sophisticated artwork utilizing different mediums

including candles, charcoal, and pencils; at the age of six, she began painting; by the age of seven,

Akiane was knowledgeable in the use of color pastels and acrylic paints; and at the age of eight,

she had completed a five-foot long oil painting mastering realism, and was already holding solo

art exhibitions.

ANSWER:        Carpentree lacks knowledge or information sufficient for it to form a belief about
               the truth of the allegations set forth in Paragraph 23.


       24.     Akiane’s art has been showcased in numerous galleries and developed an

international fan base that continues to grow. She has received extensive media coverage in

Australia, China, Brazil, Japan, Korea, Russia, Ireland, England, Scotland, the Netherlands,

France, Hungary, Poland, Lithuania, Latvia, Canada, the Middle East, and Norway.

ANSWER:        Carpentree lacks knowledge or information sufficient for it to form a belief about
               the truth of the allegations set forth in Paragraph 24.


       25.     Akiane’s online gallery, located at www.akiane.com, has had nearly 450 million

global visitors over the past decade. Her art exhibitions have been featured in museums, galleries,

embassies, universities, institutes, churches, and corporations all around the world.

ANSWER:        Carpentree lacks knowledge or information sufficient for it to form a belief about
               the truth of the allegations set forth in Paragraph 25.


       26.     She has also been featured in documentaries and made hundreds of media

appearances. In addition to the shows mentioned above, she has been featured on the Glen Beck

Program, The Late Late Show, Lou Dobbs Tonight, Hour of Power, Superhuman: Genius, The




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Indigo Evolution, Miracle Detectives, Extreme Prophetic, Trinity Broadcast Network, Supreme

Master Television, and Super Kids.

ANSWER:          Carpentree lacks knowledge or information sufficient for it to form a belief about
                 the truth of the allegations set forth in Paragraph 26.


           27.   Akiane has raised hundreds of thousands of dollars globally through her charity

auctions and art exhibits for the impoverished, and she has used her talents and artwork to

contribute to over two hundred international and charitable foundations and fundraisers, including

Northwest Medical Teams and the Smile Network.

ANSWER:          Carpentree lacks knowledge or information sufficient for it to form a belief about
                 the truth of the allegations set forth in Paragraph 27.


           28.   Due to her immense talent and fan base, Akiane has even been portrayed in the

New York Times best-selling book Heaven is For Real, which was adapted into a 2014 film

produced by Sony Pictures.

ANSWER:          Carpentree lacks knowledge or information sufficient for it to form a belief about
                 why Akiane was portrayed, but admits on information and belief the balance of
                 paragraph 28.


           29.   Akiane’s name and persona have developed enormous commercial value in

promoting her artwork as a result of the public’s widespread knowledge and admiration of her

talents.

ANSWER:          Carpentree lacks knowledge or information sufficient for it to form a belief about
                 the truth of the allegations set forth in Paragraph 29.


           30.   Akiane assigned the copyright registrations for the Works to Art Akiane. Art

Akiane owns all necessary rights to the following copyrights, registered at the U.S. Copyright

Office, for the following visual works of art (the “Works”):

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        Title of Work                   Registration No.                        Work

        Prince of Peace                   VA 1-921-911                    [picture omitted]

     Father Forgive Them                  VA 1-960-272                    [picture omitted]

               Jesus                      VA 2-142-942                    [picture omitted]

             Barefoot                     VA 2-010-303                    [picture omitted]

               I AM                       VA 2-010-300                    [picture omitted]

        Mother’s Love                     VA 1-925-543                    [picture omitted]

             Innocence                    VA 2-010-352                    [picture omitted]

         On My Knees                      VA 1-924-181                    [picture omitted]

               Hope                       VA 1-925-448                    [picture omitted]

          Co-Creation                     VA 1-924-158                    [picture omitted]

          The Swing                       VA 2-011-840                    [picture omitted]

      Love at First Sight                 VA 1-924-183                    [picture omitted]

          Vulnerable                      VA 2-010-397                    [picture omitted]


ANSWER:         Carpentree lacks knowledge or information sufficient for it to form a belief about
                the truth of the allegations set forth in Paragraph 30.


       31.      Attached as Exhibit B are true and correct copies of the certificates of registration

or registration information for the Works.

ANSWER:         Carpentree lacks knowledge or information sufficient for it to form a belief about
                the truth of the allegations set forth in Paragraph 31.


       32.      The Works are original works of authorship, all created between 2002 and 2018.

Akiane is the sole author of the Works.

ANSWER:         Carpentree lacks knowledge or information sufficient for it to form a belief about
                the truth of the allegations set forth in Paragraph 32.




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       33.     As the owner of the above-listed Works and pursuant to Section 106 of the

Copyright Act, Art Akiane has the exclusive right to reproduce the Works, prepare derivative

works of them, distribute copies to the public, and display the Works publicly.

ANSWER:        Carpentree lacks knowledge or information sufficient for it to form a belief about
               the truth of the allegations set forth in Paragraph 33.


       34.     Art Akiane owns all right, title and interest in and to Akiane’s name and likeness.

ANSWER:        Carpentree lacks knowledge or information sufficient for it to form a belief about
               the truth of the allegations set forth in Paragraph 34.


       35.     Since at least as early as 2003, Art Akiane has also been substantially and

continuously using the name and likeness of Akiane in the marketing and sale of the Works.

ANSWER:        Carpentree lacks knowledge or information sufficient for it to form a belief about
               the truth of the allegations set forth in Paragraph 35.


       36.     Art Akiane owns all right, title and interest in and to Art Akiane and Akiane’s

trademarks, which are imprinted on the Works that Art Akiane sells, and are extensively used in

online and media advertising. By virtue of the quality and nature of the goods offered under the

trademarks, the extensive sales, advertising, provision, marketing and promotion under the

trademarks, and the substantially exclusive and continuous use of the trademarks for over 16 years

for and in connection with the Works, the trademarks have come to symbolize and identify a source

of great and valuable goodwill for and in connection with Art Akiane’s goods.

ANSWER:        Carpentree lacks knowledge or information sufficient for it to form a belief about
               the truth of the allegations set forth in Paragraph 36.


       37.     Art Akiane has used its trademarks in commerce throughout the United States

continuously since at least 2003 for the distribution, provision, sale, marketing, advertising, and



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promotion of the goods associated with its marks. Attached as Exhibit C is a representative sample

showing Art Akiane’s use of its trademarks (the “AKIANE Marks”) in connection with these

goods.

ANSWER:        Carpentree lacks knowledge or information sufficient for it to form a belief about
               the truth of the allegations set forth in Paragraph 37.


         38.   As a result of its widespread, continuous, and exclusive use of the AKIANE Marks

to identify its goods and Art Akiane as their source, Art Akiane owns valid and subsisting rights

to the AKIANE Marks.

ANSWER:        Carpentree lacks knowledge or information sufficient for it to form a belief about
               the truth of the allegations set forth in Paragraph 38.


         39.   The AKIANE Marks are distinctive to both the consuming public and to those in

Art Akiane’s industry.

ANSWER:        Carpentree denies the allegations set forth in Paragraph 39.


         40.   Art Akiane has expended substantial time, money, and resources marketing,

advertising, and promoting the goods sold under the AKIANE Marks, including through online

blog posts, speaking engagements, attendance and participation at media events, and publishing

books and newsletters about Akiane. See, e.g. Exhibit D. Art Akiane has expended significant

resources on the marketing, advertising, and promotion of the goods sold under the AKIANE

Marks.

ANSWER:        Carpentree lacks knowledge or information sufficient for it to form a belief about
               the truth of the allegations set forth in Paragraph 40.


         41.   Consumers understand and see that the Art Akiane goods originate from Art

Akiane. As a result of Art Akiane’s considerable expenditures and efforts, the AKIANE Marks

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have come to signify the high quality of the goods designated by the AKIANE Marks, and acquired

incalculable distinction, reputation, and goodwill belonging exclusively to Art Akiane.

ANSWER:        Carpentree denies the allegations set forth in Paragraph 41.


       42.     Art Akiane has protected and enforced its AKIANE Marks against past

infringements, including sending numerous cease and desist letters to infringers.

ANSWER:        Carpentree lacks knowledge or information sufficient for it to form a belief about
               the truth of the allegations set forth in Paragraph 42.


       B.      Corneliuson’s and ASW’s Illicit Printing

       43.     ASW is a business entity that profits from selling religiously themed art, ornaments,

home décor, and other various goods to consumers.

ANSWER:        Carpentree lacks knowledge or information sufficient for it to form a belief about
               the truth of the allegations set forth in Paragraph 43.


       44.     Upon information and belief, Corneliuson is the owner and sole member of ASW.

ASW, at the direction of Corneliuson, sells products on its website, which it also utilizes to

promote and sell its goods. Exhibit E. At Corneliuson’s direction and with her knowledge, ASW

sells products on various e-commerce stores such as Amazon, eBay, Carpentree, Christianbooks,

Mardel, and others. See, e.g. Exhibit F.

ANSWER:        Carpentree admits that it offers for sale products it has ordered from ASW, denies
               that ASW sells products on or through Carpentree. Carpentree lacks knowledge or
               information sufficient for it to form a belief about the truth of the balance of the
               allegations set forth in Paragraph 44.


       45.     Upon information and belief, Corneliuson directs and controls the operations of

ASW, ASW’s websites https://art-soulworks.com and www.jesusprinceofpeace.com, and ASW’s

social media, including its Facebook page at www.facebook.com/jesusprinceofpeace, its Twitter

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page at https://twitter.com/ArtnSoulworks, its Instagram page at https://www.instagram.com/

jesusartakiane/, and its Pinterest page. See, e.g. Exhibit G.

ANSWER:        Carpentree lacks knowledge or information sufficient for it to form a belief about
               the truth of the allegations set forth in Paragraph 45.


       46.     On January 11, 2007, Art Akiane and ASW entered into a licensing agreement (the

“Agreement”), which expired on January 11, 2019. Exhibit H.

ANSWER:        Carpentree lacks knowledge or information sufficient for it to form a belief about
               the truth of the allegations set forth in Paragraph 46.
       47.     Art Akiane licensed the copyrighted paintings “Prince of Peace” (Reg. VA 1-921-

911), Father Forgive Them (Reg. VA 1-960-272), Trust (Reg. VA 1-925-445), Love at First Sight

(Reg. VA 1-924-183), Blessing (Reg. VA 1-924-543), The Challenge (Reg. VA 1-924-186), and

Mother’s Love (VA 1-925-543), to ASW to be reproduced and printed on bookmarks, journals,

wallet cards, calendars, deck cards, and greeting cards for Corneliuson and ASW to sell to

consumers.

ANSWER:        Carpentree lacks knowledge or information sufficient for it to form a belief about
               the truth of the allegations set forth in Paragraph 47.


       48.     Unknown to Art Akiane, and upon information and belief, Corneliuson and ASW

have been copying, modifying, displaying, distributing, and selling Art Akiane’s other Works,

despite never having been granted licensing rights to do so under the Agreement.

ANSWER:        Carpentree lacks knowledge or information sufficient for it to form a belief about
               the truth of the allegations set forth in Paragraph 48.


       49.     Corneliuson and ASW have at a minimum sold and printed the following Works

without authorization from Art Akiane:




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             Dimension                      Title of Work                       Work
    8x10 Custom Paper Print                Prince of Peace                [picture omitted]

       9x12 Canvas, OE                     Prince of Peace                [picture omitted]

       12x16 Paper Print                   Prince of Peace                [picture omitted]

     2x3 inch Wallet Cards                 Prince of Peace                [picture omitted]

       11x14 Paper Print                   Prince of Peace                [picture omitted]

        2x7 Bookmarks                      Prince of Peace                [picture omitted]

       11x14 Paper Print                        Jesus                     [picture omitted]

     2x3 inch Wallet Cards                      Jesus                     [picture omitted]

      11 x 14 Paper Print                       I AM                      [picture omitted]


ANSWER:         Carpentree lacks knowledge or information sufficient for it to form a belief about
                the truth of the allegations set forth in Paragraph 49.


       50.      Unknown to Art Akiane, Corneliuson and ASW illicitly printed and sold excessive

numbers of prints exceeding Art Akiane’s approval.

ANSWER:         Carpentree lacks knowledge or information sufficient for it to form a belief about
                the truth of the allegations set forth in Paragraph 50.


       51.      For instance, unknown to Art Akiane, and upon information and belief, Corneliuson

and ASW printed:

                a.       469 8x10 Prince of Peace paper prints in excess of the 500 prints they

                         purchased from Art Akiane;

                b.       printed and sold over 834 9x12 Prince of Peace canvas prints in excess of

                         the 300 prints they purchased from Art Akiane;

                c.       printed and sold 3,000 12x16 Prince of Peace paper prints in excess of the

                         600 prints they purchased from Art Akiane;

                d.       printed 400 11x14 Jesus paper print without authorization;
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               e.      printed 100 11x14 “I AM” paper print without authorization;

               f.      printed 2,000 11x14 Prince of Peace paper prints;

               g.      printed over 114,800 2x3 Prince of Peace wallet cards without

                       authorization;

               h.      printed 5,000 2x3 inch Jesus wallet cards without authorization; and

               i.      printed 10,000 Prince of Peace bookmarks without authorization.

ANSWER:        Carpentree lacks knowledge or information sufficient for it to form a belief about
               the truth of the allegations set forth in Paragraph 51.


       52.     Defendants sold the illicit prints to various customers.

ANSWER:        Carpentree denies that it sold illicit prints. Answering further, Carpentree lacks
               knowledge or information sufficient for it to form a belief about the truth of the
               balanced of the allegations set forth in Paragraph 52.


       53.     ASW abused and exceeded its rights under the Agreement when it printed without

permission, illicit versions of Art Akiane’s artwork.

ANSWER:        Carpentree lacks knowledge or information sufficient for it to form a belief about
               the truth of the allegations set forth in Paragraph 53.


       54.     For instance, while only having rights to sell postcards, Defendants printed framed

postcards (sic) so that they would look like legitimate framed artwork by Akiane.

ANSWER:        As to itself, Carpentree denies that it sold “illicit versions of Art Akiane’s artwork,”
               admits that it framed and sold postcards, but denies that framing a postcard violates
               the law or the rights of Plaintiff. Answering further, Carpentree lacks knowledge or
               information sufficient for it to form a belief about the truth of the balanced of the
               allegations set forth in Paragraph 54.


       55.     An example of Defendants’ illegitimate work is found below:

                                         [picture omitted]



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ANSWER:        Carpentree denies that it sold illicit prints or “illegitimate” work. Answering
               further, Carpentree lacks knowledge or information sufficient for it to form a belief
               about the truth of the balance of the allegations set forth in Paragraph 55.


       56.     Defendants also digitally modified the Prince of Peace work, printed it on wallet

cards, added “Copyright by Arts & Soulworks,” and framed the wallet cards so it would look like

legitimate framed artwork by Akiane.

ANSWER:        As to itself, Carpentree denies that it digitally modified the Prince of Peace work,
               admits that it framed and sold wallet cards, but denies that framing a wallet card
               violates the law or the rights of Plaintiff. Answering further, Carpentree lacks
               knowledge or information sufficient for it to form a belief about the truth of the
               balance of the allegations set forth in Paragraph 56.


       57.     An example of Defendants’ illegitimate work is found below:

                                         [picture omitted]

ANSWER:        Carpentree denies that it sold illicit prints or “illegitimate” work and denies that it
               digitally modified the Prince of Peace work. Carpentree lacks knowledge or
               information sufficient for it to form a belief about the truth of the balance of the
               allegations set forth in Paragraph 57.


       58.     Defendants impermissibly took postcards and wallet cards and framed these items

to look like legitimate framed artwork by Akiane, when in reality, these items were not legitimate

artwork, but merely postcards and wallet cards that were framed by Defendants in order to deceive

customers into thinking that they were purchasing legitimate artwork by Akiane.

ANSWER:        Carpentree denies that framing postcards or wallet cards violates the law or the
               rights of Plaintiff and denies that it did so to deceive customers. Carpentree denies
               consumers were ever “deceived” in the manner asserted by Plaintiff. Answering
               further, Carpentree lacks information sufficient for it to admit the balance of the
               allegations set forth in Paragraph 58.




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         59.   Corneliuson’s and ASW’s illicit artwork were also often of an inferior quality. For

instance, the illicit artwork was often framed on cardboard, and used low quality colors and

materials.

ANSWER:        Carpentree lacks knowledge or information sufficient for it to form a belief about
               the truth of the allegations set forth in Paragraph 59.


C.       Corneliuson’s and ASW’s Illicit Sales

         60.   Unknown to Art Akiane, and upon information and belief, Corneliuson and ASW

sold its illicit artwork through online vendors, including Carpentree, Mardel, Christianbook, St.

Judge Shop, and Amazon. See, e.g. Exhibit I.

ANSWER:        Carpentree denies that it violated the law or the rights of Plaintiff in any manner.
               Answer in further, Carpentree lacks knowledge or information sufficient for it to
               form a belief about the truth of the balance of the allegations set forth in Paragraph
               60.


         61.   Carpentree then sold the framed illicit artwork to consumers at a significant mark-

up. For instance, upon information and belief, Carpentree framed a 3x4 inch Prince of Peace wallet

card to make it look like it was a legitimate framed artwork by Akiane.

ANSWER:        Denied.
    62.        Carpentree then sold this illicit artwork to customers. See, e.g. Exhibit J.

ANSWER:        Carpentree denies that it sold illicit artwork.


         63.   Carpentree’s sales were illicit and not approved by Art Akiane and the copying,

redistribution, and sale of Art Akiane’s work directly infringed Art Akiane’s copyrights.

ANSWER:        Denied.




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D.       ASW Hid the True Sales from Art Akiane, and Underpaid Royalties

         64.   ASW was required to pay a 10% royalty fee to Art Akiane for items sold under the

Agreement.

ANSWER:        Carpentree lacks knowledge or information sufficient for it to form a belief about
               the truth of the allegations set forth in Paragraph 64.


         65.   Upon information and belief, ASW failed to disclose numerous sales to Art Akiane

so that ASW could avoid making royalty payments to Art Akiane as required by the Agreement.

ANSWER:        Carpentree lacks knowledge or information sufficient for it to form a belief about
               the truth of the allegations set forth in Paragraph 65.


         66.   Upon information and belief, ASW has underreported its sales and royalty

payments to Art Akiane and has kept Art Akiane’s royalty revenue for its exclusive and sole benefit

despite completing various sales to customers under the Agreement.

ANSWER:        Carpentree lacks knowledge or information sufficient for it to form a belief about
               the truth of the allegations set forth in Paragraph 66.


         67.   Upon information and belief, Corneliuson and ASW hid at least $464,730.26 in

undisclosed revenue they made from Akiane related products.

ANSWER:        Carpentree lacks knowledge or information sufficient for it to form a belief about
               the truth of the allegations set forth in Paragraph 67.
         68.   Upon information and belief, ASW underpaid Art Akiane at least $46,473 in unpaid

royalties.

ANSWER:        Carpentree lacks knowledge or information sufficient for it to form a belief about
               the truth of the allegations set forth in Paragraph 68.




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E.       Art Akiane’s Lost Sales and Termination of the Agreement

         69.     Upon information and belief, Corneliuson represented herself to be the sole

representative of all the Works to customers.

ANSWER:          Carpentree lacks knowledge or information sufficient for it to form a belief about
                 the truth of the allegations set forth in Paragraph 69.


         70.     Corneliuson and ASW induced the public to download illegal “free” copies of

Akiane’s artwork from ASW’s website.

ANSWER:          Carpentree lacks knowledge or information sufficient for it to form a belief about
                 the truth of the allegations set forth in Paragraph 70.


         71.     Corneliuson and ASW also misrepresented to the public that they are the authorized

source and representatives of Akiane’s artwork. Exhibit K.

ANSWER:          Carpentree lacks knowledge or information sufficient for it to form a belief about
                 the truth of the allegations set forth in Paragraph 71.


72.      For instance, ASW’s website states:


                                          [picture omitted]

See Exhibit A.

ANSWER:          On information and belief, Carpentree admits that ASW’s website includes the
                 statements identified, but lacks knowledge or information sufficient for it to form a
                 belief about the truth of the balance of the allegations set forth in Paragraph 72.


         73.     Between 2011 to 2018, potential customers and art collectors who were interested

in purchasing Art Akiane’s artwork contacted Corneliuson in order to purchase original artwork.

Corneliuson would contact Art Akiane to request the price for the original artwork, without

disclosing to Art Akiane the identity of the potential customer.



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ANSWER:         Carpentree lacks knowledge or information sufficient for it to form a belief about
                the truth of the allegations set forth in Paragraph 73.


         74.    Upon information and belief, Corneliuson would not allow further communications

between these potential customers and Art Akiane, despite Art Akiane’s willingness to negotiate

purchase terms for the artwork and the legitimate expectancy to enter into a valid business

relationship with those customers.

ANSWER:         Carpentree lacks knowledge or information sufficient for it to form a belief about
                the truth of the allegations set forth in Paragraph 74.


         75.    Art Akiane often could not contact the potential customers because Corneliuson

withheld customer contact information. Art Akiane lost sales because negotiations with potential

customers deteriorated when Art Akiane could not contact these customers.

ANSWER:         Carpentree lacks knowledge or information sufficient for it to form a belief about
                the truth of the allegations set forth in Paragraph 75.


         76.    On January 10, 2019, Art Akiane sent a letter to Corneliuson, formally notifying

her that Art Akiane would not be renewing the Agreement.

ANSWER:         Carpentree lacks knowledge or information sufficient for it to form a belief about
                the truth of the allegations set forth in Paragraph 76.


         77.    Corneliuson was upset that Art Akiane would not renew the Agreement.

ANSWER:        Carpentree lacks knowledge or information sufficient for it to form a belief about
               the truth of the allegations set forth in Paragraph 77.
F.       Corneliuson’s and ASW’s Infringing Conduct and Willful Copying

         78.    Despite the expiration of the Agreement, Corneliuson and ASW continue to make

copies, display, and distribute the Works without authorization, including on ASW’s online store,

ASW’s Facebook page at www.facebook.com/jesusprinceofpeace, ASW’s Twitter page at



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https://twitter.com/ArtnSoulworks, ASW’s Instagram page at https://www.instagram.com/

jesusartakiane/, and through Squareup, St. Jude Shop, Amazon, eBay, Christianbook, Mardel, and

other online stores on the internet. See, e.g. Exhibit L and Exhibit M.

ANSWER:        Carpentree lacks knowledge or information sufficient for it to form a belief about
               the truth of the allegations set forth in Paragraph 78.


       79.     Corneliuson and ASW also modified copies of Akiane’s artwork by altering or

removing Akiane’s signature and other identifying information, and distributed the altered Works

on the internet on ASW’s Facebook page, Twitter page, Instagram page, Pinterest page, YouTube,

their online store, and other websites. See Exhibit G and Exhibit N.

ANSWER:        Carpentree lacks knowledge or information sufficient for it to form a belief about
               the truth of the allegations set forth in Paragraph 79.


       80.     Corneliuson and ASW altered or removed copyright management information from

Akiane’s artwork in at least 755 instances, publicizing those images with altered or removed

copyright management information. Attached as Exhibit O is a table summarizing the instances

Corneliuson and ASW impermissibly published the artwork with altered or removed copyright

management information along with each of the identified instances.

ANSWER:        Carpentree lacks knowledge or information sufficient for it to form a belief about
               the truth of the allegations set forth in Paragraph 80.


       81.     Upon information and belief, the alteration or removal of copyright management

information was directed by Corneliuson, and done with the purpose of marketing and profiting

off of ASW’s association with Art Akiane.

ANSWER:        Carpentree lacks knowledge or information sufficient for it to form a belief about
               the truth of the allegations set forth in Paragraph 81.




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       82.     Art Akiane never gave Corneliuson or ASW permission or authority to remove

copyright management information from the Works.

ANSWER:        Carpentree lacks knowledge or information sufficient for it to form a belief about
               the truth of the allegations set forth in Paragraph 82.


       83.     Corneliuson and ASW also created, registered, and ran unauthorized Facebook,

Twitter, Instagram, and Pinterest pages using Akiane’s likeness, and that prominently uses the

AKIANE Marks, including in the domain name for the Facebook page located at

www.facebook.com/jesusprinceofpeace. See Exhibit P.

ANSWER:        Carpentree lacks knowledge or information sufficient for it to form a belief about
               the truth of the allegations set forth in Paragraph 83.


       84.     The domains advertise the sale of the Works and uses Akiane’s likeness to promote

the sale of infringing goods.

ANSWER:        Carpentree lacks knowledge or information sufficient for it to form a belief about
               the truth of the allegations set forth in Paragraph 84.

       85.     Upon information and belief, Corneliuson and ASW maintain the Facebook,

Twitter, Instagram, and Pinterest domains solely to profit from the sale of the Works.

ANSWER:        Carpentree lacks knowledge or information sufficient for it to form a belief about
               the truth of the allegations set forth in Paragraph 85.


       86.     Upon information and belief and without Art Akiane’s authorization, Corneliuson

and ASW also published unauthorized videos displaying the Works on Corneliuson’s and ASW’s

YouTube account. Exhibit Q.

ANSWER:        Carpentree lacks knowledge or information sufficient for it to form a belief about
               the truth of the allegations set forth in Paragraph 86.




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       87.    Upon information and belief and without Art Akiane’s authorization, Corneliuson

and ASW also edited Art Akiane’s documentary videos of Akiane, including the “Painting the

Impossible” documentary. Corneliuson and ASW published these edited and unauthorized videos

on Corneliuson’s and ASW’s YouTube account.

ANSWER:       Carpentree lacks knowledge or information sufficient for it to form a belief about
              the truth of the allegations set forth in Paragraph 87.


       88.    Upon information and belief and without Art Akiane’s authorization, Corneliuson

and ASW also created “inspirational magnets” using the Works. These magnets said that Art by

Akiane was a “trademark of © Art & SoulWorks,” which is false.

ANSWER:       Carpentree lacks knowledge or information sufficient for it to form a belief about
              the truth of the allegations set forth in Paragraph 88.


       89.    An example of the magnets are (sic) found below:

                                      [Picture omitted]

ANSWER:       Carpentree lacks knowledge or information sufficient for it to form a belief about
              the truth of the allegations set forth in Paragraph 89.


       90.    Corneliuson and ASW also created, registered, and continue to run the website

domain www.jesusprinceofpeace.com, which prominently uses the AKIANE Marks, including in

the domain name.

ANSWER:       Carpentree lacks knowledge or information sufficient for it to form a belief about
              the truth of the allegations set forth in Paragraph 90.


       91.    Without Art Akiane’s authorization, Corneliuson and ASW continue to use

Akiane’s likeness and the AKIANE Marks on their domain names, websites, e-commerce sites,




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and social media sites, including on their Facebook page, Twitter page, Instagram page, and

Pinterest page. See Exhibit G and Exhibit R.

ANSWER:        Carpentree lacks knowledge or information sufficient for it to form a belief about
               the truth of the allegations set forth in Paragraph 91.


         92.   Upon information and belief, Corneliuson and ASW continue to willfully

distribute, provide, market, advertise, promote, and offer for sale the Works under the AKIANE

Marks.

ANSWER:        Carpentree lacks knowledge or information sufficient for it to form a belief about
               the truth of the allegations set forth in Paragraph 92.


         93.   Upon information and belief, Corneliuson and ASW offer and sell the Works under

the AKIANE Marks to the same types of consumers that comprise Art Akiane’s same class of

consumers and to whom Art Akiane sells the same goods to. Consumers are likely to be confused

as to the source or sponsorship of the goods, as well as the association between Corneliuson and

ASW and Art Akiane.

ANSWER:        Carpentree lacks knowledge or information sufficient for it to form a belief about
               the truth of the allegations set forth in Paragraph 93.


         94.   Corneliuson and ASW, upon information and belief, willfully appropriated

Akiane’s name and likeness in multiple ways including, without limitation, by uploading Akiane’s

images and name to Corneliuson’s and ASW’s publicly available YouTube channel, Facebook

page, Twitter page, Instagram page, and Corneliuson’s and ASW’s website.

ANSWER:        Carpentree lacks knowledge or information sufficient for it to form a belief about
               the truth of the allegations set forth in Paragraph 94.




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       95.     Art Akiane did not authorize Corneliuson and ASW to use Akiane’s name, identity,

or likeness and Corneliuson and ASW had no consent to do so.

ANSWER:        Carpentree lacks knowledge or information sufficient for it to form a belief about
               the truth of the allegations set forth in Paragraph 95.


       96.     Upon information and belief, Corneliuson’s and ASW’s utilization of Akiane’s

name, identity, likeness, and reputation was purely for commercial purposes including, without

limitation, to offer for sale and promote Corneliuson’s and ASW’s products via Corneliuson’s and

ASW’s website, Facebook page, Twitter page, Instagram page, Pinterest page, YouTube channel,

and other channels of trade.

ANSWER:        Carpentree lacks knowledge or information sufficient for it to form a belief about
               the truth of the allegations set forth in Paragraph 96.


       97.     Upon information and belief, Corneliuson and ASW have received and continue to

receive a benefit from their utilization of Akiane’s full name, identity, likeness, and reputation

including, without limitation, internet traffic to Corneliuson’s and ASW’s social media channels

and website, increased search engine relevancy, and potential or actual customers who were

directed to Corneliuson and ASW because of Corneliuson’s and ASW’s utilization of Akiane’s

name, identity, and likeness.

ANSWER:        Carpentree lacks knowledge or information sufficient for it to form a belief about
               the truth of the allegations set forth in Paragraph 97.


       98.     Corneliuson’s and ASW’s infringing acts as alleged above have caused and are

likely to continue to cause confusion, mistake, and deception among the relevant consuming public

as to the source or origin of Corneliuson’s and ASW’s goods and have and are likely to continue

to deceive the relevant consuming public into believing, mistakenly, that Corneliuson’s and



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ASW’s goods originate from, are associated or affiliated with, or otherwise authorized by Art

Akiane.

ANSWER:        Carpentree lacks knowledge or information sufficient for it to form a belief about
               the truth of the allegations set forth in Paragraph 98.


        99.    Upon information and belief, Corneliuson’s and ASW’s acts are willful with the

deliberate intent to trade on the goodwill of Art Akiane’s AKIANE Marks, cause confusion and

deception in the marketplace, and divert potential sales of Art Akiane’s goods to Corneliuson and

ASW.

ANSWER:        Carpentree lacks knowledge or information sufficient for it to form a belief about
               the truth of the allegations set forth in Paragraph 99.


        100.   Corneliuson’s and ASW’s acts are causing, and unless restrained, will continue to

cause damage and immediate irreparable harm to Art Akiane and to its valuable reputation and

goodwill with the consuming public for which Art Akiane has no adequate remedy at law.

ANSWER:        Carpentree lacks knowledge or information sufficient for it to form a belief about
               the truth of the allegations set forth in Paragraph 100.


                                      COUNT I
                              COPYRIGHT INFRINGEMENT
                           (AGAINST CORNELIUSON AND ASW)

        101.   Art Akiane realleges and incorporates each and every allegation in the paragraphs

above as if they were fully set forth herein.

ANSWER:        Carpentree incorporates by reference its responses to the preceding paragraphs.1




1
 Since Plaintiff incorporates by reference all of its previous allegations into each count of its
Complaint, Carpentree responds herein to all allegations, including those contained in counts not
directed against Carpentree.
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          102.    Art Akiane is the assignee of copyrights registered with the United States Copyright

Office.

ANSWER:           Carpentree lacks knowledge or information sufficient for it to form a belief about
                  the truth of the allegations set forth in Paragraph 102.


          103.    Art Akiane is the true, rightful, and sole owner of the copyrights in the Works,

including Copyright Registration Nos. VA 1-921-911, VA 1-960-272, VA 2-142-942, VA 2- 010-

303, VA 2-010-300, VA 1-925-543, VA 2-010-352, VA 1-924-181, VA 1-924-448, VA 1- 924-

158, VA 2-011-840, VA 1-924-183, and VA 2-010-397.

ANSWER:           Carpentree lacks knowledge or information sufficient for it to form a belief about
                  the truth of the allegations set forth in Paragraph 103.


          104.    By their actions alleged above, Corneliuson and ASW have infringed Art Akiane’s

copyrights by knowingly copying, willfully reproducing, and distributing into the market

infringing content including direct copies and derivatives of the copyrighted materials.

ANSWER:           Carpentree lacks knowledge or information sufficient for it to form a belief about
                  the truth of the allegations set forth in Paragraph 104.


          105.    Corneliuson and ASW without authority copied copyrighted content owned by Art

Akiane      for   use    on   websites    including     Corneliuson’s   and   ASW’s      website    at

http://artsoulworks.com, www.jesusprinceofpeace.com, Amazon, Facebook, Twitter, Instagram,

YouTube, and eBay.

ANSWER:           Carpentree lacks knowledge or information sufficient for it to form a belief about
                  the truth of the allegations set forth in Paragraph 105.




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       106.    Corneliuson and ASW without authority induced the public to download illegal

copies of Akiane’s artwork from ASW’s website, and upon information and belief, made illicit

digital copies and distributed them without authorization.

ANSWER:        Carpentree lacks knowledge or information sufficient for it to form a belief about
               the truth of the allegations set forth in Paragraph 106.


       107.    Corneliuson and ASW without authority digitally modified the Prince of Peace

work, printed it on wallet cards, added “Copyright by Arts & Soulworks,” and had the wallet cards

framed so it would look like legitimate framed artwork by Akiane, and sold and distributed them.

ANSWER:        Carpentree lacks knowledge or information sufficient for it to form a belief about
               the truth of the allegations set forth in Paragraph 107.


       108.    Corneliuson and ASW without authority printed various illicit versions of Art

Akiane’s artwork without permission, and then sold the illicit artwork to consumers and online

vendors.

ANSWER:        Carpentree lacks knowledge or information sufficient for it to form a belief about
               the truth of the allegations set forth in Paragraph 108.


       109.    Corneliuson and ASW without authority published unauthorized videos displaying

the Works on Corneliuson’s and ASW’s YouTube account.

ANSWER:        Carpentree lacks knowledge or information sufficient for it to form a belief about
               the truth of the allegations set forth in Paragraph 109.


       110.    Corneliuson and ASW without authority edited Art Akiane’s documentary videos

of Akiane, including the “Painting the Impossible” documentary. Corneliuson and ASW published

these edited and unauthorized videos on Corneliuson’s and ASW’s YouTube account.

ANSWER:        Carpentree lacks knowledge or information sufficient for it to form a belief about
               the truth of the allegations set forth in Paragraph 110.

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          111.   Corneliuson and ASW without authority printed, copied, modified, displayed,

distributed, and sold Art Akiane’s other Works.

ANSWER:          Carpentree lacks knowledge or information sufficient for it to form a belief about
                 the truth of the allegations set forth in Paragraph 111.


          112.   This infringement was willful, deliberate, and done with knowledge of Art Akiane’s

rights.

ANSWER:          Carpentree lacks knowledge or information sufficient for it to form a belief about
                 the truth of the allegations set forth in Paragraph 112.


          113.   Corneliuson’s and ASW’s acts of copyright infringement have caused and will

continue to cause damage to Art Akiane, in an amount to be proven at trial.

ANSWER:          Carpentree lacks knowledge or information sufficient for it to form a belief about
                 the truth of the allegations set forth in Paragraph 113.


          114.   Art Akiane is entitled to, among other relief, injunctive relief and an award of actual

damages, Corneliuson’s and ASW’s profits, enhanced damages and profits, reasonable attorneys’

fees, and costs of the action, together with prejudgment and post-judgment interest.

ANSWER:          Carpentree lacks knowledge or information sufficient for it to form a belief about
                 the truth of the allegations set forth in Paragraph 114.


                            COUNT II
     TRADEMARK INFRINGEMENT AND UNFAIR COMPETITION AND FALSE
                      DESIGNATION OF ORIGIN
                      (AGAINST DEFENDANTS)

          115.   Art Akiane realleges and incorporates each and every allegation in the paragraphs

above as if they were fully set forth herein.

ANSWER:          Carpentree incorporates by reference its responses to the preceding paragraphs.




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       116.    Corneliuson’s and ASW’s unauthorized use in commerce of the AKIANE Marks

as alleged above is likely to confuse, cause mistake, or to deceive consumers as to the origin,

source, sponsorship, or affiliation of its goods, and is likely to cause consumers to believe, contrary

to fact, that Corneliuson’s and ASW’s goods are sold, authorized, endorsed, or sponsored by Art

Akiane, or that Corneliuson and ASW are in some way affiliated with or sponsored by Art Akiane.

ANSWER:        To the extent this paragraph is based on actions which Carpentree denies or are
               based on legal conclusions which Carpentree denies, this allegation is denied.
               Carpentree lacks knowledge or information sufficient for it to form a belief about
               the truth of the balance of the allegations set forth in Paragraph 116.


       117.    Corneliuson’s and ASW’s unauthorized use in commerce of the AKIANE Marks

as alleged above constitutes use of a false designation of origin and misleading description and

representation of fact that is likely to confuse consumers in violation of Section 43(a) of the

Lanham Act, 15 U.S.C. § 1125(a).

ANSWER:        To the extent this paragraph is based on actions which Carpentree denies or are
               based on legal conclusions which Carpentree denies, this allegation is denied.
               Carpentree lacks knowledge or information sufficient for it to form a belief about
               the truth of the balance of the allegations set forth in Paragraph 117.


       118.    Corneliuson and ASW created magnets using the Works that incorrectly stated that

Art by Akiane was a “trademark of © Art & SoulWorks,” which is false. Corneliuson’s and ASW’s

unauthorized use of the Art Akiane name constitutes use of a false designation of origin and

misleading description and representation of fact that is likely to confuse consumers in violation

of Section 43(a) of the Lanham Act, 15 U.S.C. § 1125(a).

ANSWER:        To the extent this paragraph is based on actions which Carpentree denies or are
               based on legal conclusions which Carpentree denies, this allegation is denied.
               Carpentree lacks knowledge or information sufficient for it to form a belief about
               the truth of the balance of the allegations set forth in Paragraph 118.




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       119.    Defendants’ sold illicit artwork with AKIANE’S Marks which is likely to confuse

consumers.

ANSWER:        To the extent this paragraph is based on actions which Carpentree denies or are
               based on legal conclusions which Carpentree denies, this allegation is denied.
               Carpentree lacks knowledge or information sufficient for it to form a belief about
               the truth of the balance of the allegations set forth in Paragraph 119.


       120.    Corneliuson and ASW continue to misrepresent that they are the authorized source

and representatives of Akiane’s artwork. For instance, ASW’s and Corneliuson’s website

incorrectly states: “In fact, we are the Trusted Source for ‘Prince of Peace’ high-quality

reproductions.” Exhibit A. Such misrepresentations constitute a false designation of origin and

misleading description and representation of fact that is likely to confuse consumers in violation

of Section 43(a) of the Lanham Act, 15 U.S.C. § 1125(a).

ANSWER:        Carpentree lacks knowledge or information sufficient for it to form a belief about
               the truth of the allegations set forth in Paragraph 120.


       121.    Upon information and belief, Defendants’ conduct as alleged above is willful and

is intended to and is likely to cause confusion, mistake, or deception as to the affiliation,

connection, or association of Corneliuson and ASW with Art Akiane.

ANSWER:        As to Carpentree, denied. To the extent this paragraph is based on actions which
               Carpentree denies or are based on legal conclusions which Carpentree denies, this
               allegation is denied. Carpentree lacks knowledge or information sufficient for it to
               form a belief about the truth of the balance of the allegations set forth in Paragraph
               121.


       122.    Defendants’ conduct as alleged above constitutes unfair competition in violation of

Section 43(a) of the Lanham Act, 15 U.S.C. § 1125(a).

ANSWER:        As to Carpentree, denied. To the extent this paragraph is based on actions which
               Carpentree denies or are based on legal conclusions which Carpentree denies, this
               allegation is denied. Carpentree lacks knowledge or information sufficient for it to

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                 form a belief about the truth of the balance of the allegations set forth in Paragraph
                 122.


          123.   Defendants’ conduct as alleged herein is causing immediate and irreparable harm

and injury to Art Akiane, and to its goodwill and reputation, and will continue to both damage Art

Akiane and confuse the public unless enjoined by this Court. Art Akiane has no adequate remedy

at law.

ANSWER:          As to Carpentree, denied. To the extent this paragraph is based on actions which
                 Carpentree denies or are based on legal conclusions which Carpentree denies, this
                 allegation is denied. Carpentree lacks knowledge or information sufficient for it to
                 form a belief about the truth of the balance of the allegations set forth in Paragraph
                 123.


          124.   Art Akiane is entitled to, among other relief, injunctive relief and an award of actual

damages, Defendants’ profits, enhanced damages and profits, reasonable attorneys’ fees, and costs

of the action under Sections 34 and 35 of the Lanham Act, 15 U.S.C. §§ 1116, 1117, together with

prejudgment and post-judgment interest.

ANSWER:          As to Carpentree, denied. To the extent this paragraph is based on actions which
                 Carpentree denies or are based on legal conclusions which Carpentree denies, this
                 allegation is denied. Carpentree lacks knowledge or information sufficient for it to
                 form a belief about the truth of the balance of the allegations set forth in Paragraph
                 124.


                                     COUNT III
                           COMMON LAW UNFAIR COMPETITION
                               (AGAINST DEFENDANTS)

          125.   Art Akiane realleges and incorporates each and every allegation in the paragraphs

above as if they were fully set forth herein.

ANSWER:          Carpentree incorporates by reference its responses to the preceding paragraphs.




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       126.   Art Akiane owns all rights, title, and interest in and to the AKIANE Marks,

including but not limited to all common law rights in such marks due to Art Akiane’s first use of

the AKIANE Marks in this district. Defendants’ unauthorized use in commerce of the AKIANE

Marks as alleged herein occurred long after Art Akiane began using the AKIANE Marks and is

likely to deceive consumers as to the origin, source, sponsorship, or affiliation of Defendants’

goods, and is likely to cause consumers to believe, contrary to fact, that Defendants’ goods are

sold, authorized, endorsed, or sponsored by Art Akiane, or that Defendants are in some way

affiliated with or sponsored by Art Akiane.

ANSWER:       As to Carpentree, denied. To the extent this paragraph is based on actions which
              Carpentree denies or are based on legal conclusions which Carpentree denies, this
              allegation is denied. Carpentree lacks knowledge or information sufficient for it to
              form a belief about the truth of the balance of the allegations set forth in Paragraph
              126.


       127.   Upon information and belief, Defendants’ conduct as alleged herein is willful and

is intended to and is likely to cause confusion, mistake, or deception as to the affiliation,

connection, or association of Defendants with Art Akiane.

ANSWER:       As to Carpentree, denied. To the extent this paragraph is based on actions which
              Carpentree denies or are based on legal conclusions which Carpentree denies, this
              allegation is denied. Carpentree lacks knowledge or information sufficient for it to
              form a belief about the truth of the balance of the allegations set forth in Paragraph
              127.


       128.   By reason of their acts, Defendants have committed unfair competition under

Illinois common law.

ANSWER:       As to Carpentree, denied. To the extent this paragraph is based on actions which
              Carpentree denies or are based on legal conclusions which Carpentree denies, this
              allegation is denied. Carpentree lacks knowledge or information sufficient for it to
              form a belief about the truth of the balance of the allegations set forth in Paragraph
              128.



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       129.    Defendants’ conduct is causing immediate and irreparable harm and injury to Art

Akiane, and to its goodwill and reputation, and will continue to both damage Art Akiane and

confuse the public unless enjoined by this Court. Art Akiane has no adequate remedy at law.

ANSWER:        As to Carpentree, denied. To the extent this paragraph is based on actions which
               Carpentree denies or are based on legal conclusions which Carpentree denies, this
               allegation is denied. Carpentree lacks knowledge or information sufficient for it to
               form a belief about the truth of the balance of the allegations set forth in Paragraph
               129.


       130.    Art Akiane is entitled to, among other relief, injunctive relief and an award of actual

damages, Defendants’ profits, enhanced damages and profits, reasonable attorneys' fees, and costs

of the action under Illinois common law, together with prejudgment and postjudgment interest.

ANSWER:        As to Carpentree, denied. To the extent this paragraph is based on actions which
               Carpentree denies or are based on legal conclusions which Carpentree denies, this
               allegation is denied. Carpentree lacks knowledge or information sufficient for it to
               form a belief about the truth of the balance of the allegations set forth in Paragraph
               130.


                                  COUNT IV
                          VIOLATION OF THE ILLINOIS
                    UNIFORM DECEPTIVE TRADE PRACTICES ACT
                            (AGAINST DEFENDANTS)

       131.    Art Akiane realleges and incorporates each and every allegation in the paragraphs

above as if they were fully set forth herein.

ANSWER:        Carpentree incorporates by reference its responses to the preceding paragraphs.


       132.    The Illinois Uniform Deceptive Practices Act (“UDPA”), 815 ILCS § 510/2, et seq.

provides that a person engages in deceptive trade practices when the person “(1) passes off goods

or services as those of another . . . (3) causes a likelihood of confusion or of misunderstanding as




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to affiliation, connection or association with or certification by another; . . . [or] (5) represents that

goods or services has sponsorship, approval, characteristics, . . . that they do not have.”

ANSWER:         Carpentree admits that the Illinois Uniform Deceptive Practices Act provides, in
                part, as alleged.


        133.    Defendants have violated the UDPA by falsely and deceptively representing to

consumers that Art Akiane is associated with Defendants, and because Defendants have used

deception, fraud, false pretense, misrepresentation or concealment, suppression or omission of

material facts, either expressly or by implication, in causing the false association with the intent

that the public rely upon those false representations.

ANSWER:         As to Carpentree, denied. To the extent this paragraph is based on actions which
                Carpentree denies or are based on legal conclusions which Carpentree denies, this
                allegation is denied. Carpentree lacks knowledge or information sufficient for it to
                form a belief about the truth of the balance of the allegations set forth in Paragraph
                133.


        134.    Defendants’ trade practice of misleadingly holding themselves out as being

associated with Art Akiane is directed to the market generally, and otherwise constitutes a

consumer protection matter because consumers need to be protected from false and misleading

advertising of the type that Defendants are engaged in.

ANSWER:         As to Carpentree, denied. To the extent this paragraph is based on actions which
                Carpentree denies or are based on legal conclusions which Carpentree denies, this
                allegation is denied. Carpentree lacks knowledge or information sufficient for it to
                form a belief about the truth of the balance of the allegations set forth in Paragraph
                134.


        135.    The unauthorized use by Defendants of Art Akiane’s Works and the AKIANE

Marks is causing and is likely to cause substantial injury to the public and to Art Akiane, and Art

Akiane has no adequate remedy at law for this injury.



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ANSWER:        As to Carpentree, denied. To the extent this paragraph is based on actions which
               Carpentree denies or are based on legal conclusions which Carpentree denies, this
               allegation is denied. Carpentree lacks knowledge or information sufficient for it to
               form a belief about the truth of the balance of the allegations set forth in Paragraph
               135.


       136.    As a result of Defendants’ unlawful business practices, Art Akiane is entitled to an

order enjoining such future conduct, attorneys’ fees under 815 ILCS § 510/3, and such other orders

and judgments necessary.

ANSWER:        As to Carpentree, denied. To the extent this paragraph is based on actions which
               Carpentree denies or are based on legal conclusions which Carpentree denies, this
               allegation is denied. Carpentree lacks knowledge or information sufficient for it to
               form a belief about the truth of the balance of the allegations set forth in Paragraph
               136.


                                       COUNT V
                                 UNJUST ENRICHMENT
                            (AGAINST ASW AND CARPENTREE)

       137.    Art Akiane realleges and incorporates each and every allegation in the paragraphs

above as if they were fully set forth herein.

ANSWER:        Carpentree incorporates by reference its responses to the preceding paragraphs.


       138.    Art Akiane’s ownership of the rights to distribute and the rights to license the use

of the Works are valuable assets to Art Akiane.

ANSWER:        To the extent this paragraph is based on actions which Carpentree denies or are
               based on legal conclusions which Carpentree denies, this allegation is denied.
               Carpentree lacks knowledge or information sufficient for it to form a belief about
               the truth of the balance of the allegations set forth in Paragraph 138.


       139.    By reproducing, distributing, and selling Art Akiane’s Works without permission

or authorization, and profiting off the Works without paying compensation to Art Akiane, ASW

and Carpentree have appropriated a valuable asset belonging to Art Akiane.

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ANSWER:        As to Carpentree, denied. To the extent this paragraph is based on actions which
               Carpentree denies or are based on legal conclusions which Carpentree denies, this
               allegation is denied. Carpentree lacks knowledge or information sufficient for it to
               form a belief about the truth of the balance of the allegations set forth in Paragraph
               139.


       140.    By failing to pay proper compensation to Art Akiane for the sale and use of the

Works, ASW and Carpentree have retained Art Akiane’s benefit and such retention violates the

fundamental principles of justice, equity and good conscience.

ANSWER:        As to Carpentree, denied. To the extent this paragraph is based on actions which
               Carpentree denies or are based on legal conclusions which Carpentree denies, this
               allegation is denied. Carpentree lacks knowledge or information sufficient for it to
               form a belief about the truth of the balance of the allegations set forth in Paragraph
               140.


                                  COUNT VI
              INTEGRITY OF COPYRIGHT MANAGEMENT INFORMATION
                       (AGAINST CORNELIUSON AND ASW)

       141.    Art Akiane realleges and incorporates each and every allegation in the paragraphs

above as if they were fully set forth herein.

ANSWER:        Carpentree incorporates by reference its responses to the preceding paragraphs.


       142.    The Works and Akiane’s artwork contain the signature or name of Akiane or Art

Akiane, which is copyright management information protected under 17 U.S.C. § 1202(b).

ANSWER:        Carpentree lacks knowledge or information sufficient for it to form a belief about
               the truth of the allegations set forth in Paragraph 142.


       143.    Upon information and belief and without Art Akiane's authorization, Corneliuson

and ASW created magnets using the Works that incorrectly said Art by Akiane was a "trademark

of © Art & SoulWorks," which is false.




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ANSWER:        Carpentree lacks knowledge or information sufficient for it to form a belief about
               the truth of the allegations set forth in Paragraph 143.


       144.    Upon information and belief, Corneliuson and ASW intentionally and knowingly

removed and/or altered the copyright management information identifying Akiane or Art Akiane

as the author and owner, and distributed the same without authorization.

ANSWER:        Carpentree lacks knowledge or information sufficient for it to form a belief about
               the truth of the allegations set forth in Paragraph 144.


       145.    Corneliuson’s and ASW’s conduct alleged herein is a violation of 17 U.S.C. §

1202(b).

ANSWER:        Carpentree lacks knowledge or information sufficient for it to form a belief about
               the truth of the allegations set forth in Paragraph 145.


       146.    Corneliuson’s and ASW’s removal and/or altering of the aforementioned copyright

management information and its distribution was made without the knowledge or consent of Art

Akiane.

ANSWER:        Carpentree lacks knowledge or information sufficient for it to form a belief about
               the truth of the allegations set forth in Paragraph 146.


       147.    Upon information and belief, the removal and/or altering of the aforementioned

copyright management information and its unauthorized distribution were made by Corneliuson

and ASW to induce, enable, facilitate, or conceal its infringement of Art Akiane’s copyrights.

ANSWER:        Carpentree lacks knowledge or information sufficient for it to form a belief about
               the truth of the allegations set forth in Paragraph 147.




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       148.    Corneliuson and ASW also knew, or should have known, that such removal of said

copyright management information would induce, enable, facilitate, or conceal their infringement

of Art Akiane’s copyrights.

ANSWER:        Carpentree lacks knowledge or information sufficient for it to form a belief about
               the truth of the allegations set forth in Paragraph 148.
       149.    As a result of the wrongful conduct of Corneliuson and ASW, Art Akiane is entitled

to recover from Corneliuson and ASW the damages that Art Akiane sustained and will sustain,

and any gains, profits and advantages obtained by Corneliuson and ASW because of its violations

of 17 U.S.C. § 1202, including attorney’s fees and costs.

ANSWER:        Carpentree lacks knowledge or information sufficient for it to form a belief about
               the truth of the allegations set forth in Paragraph 149.


       150.    Alternatively, Art Akiane may elect to recover from Corneliuson and ASW

statutory damages pursuant to 17 U.S.C. § 1203(c)(3) in a sum of at least $2,500 up to $25,000 for

each violation of 17 U.S.C. § 1202.

ANSWER:        Carpentree lacks knowledge or information sufficient for it to form a belief about
               the truth of the allegations set forth in Paragraph 150.


                            COUNT VII
   VIOLATION OF THE LANHAM ACT – ANTI-CYBERSQUATTING CONSUMER
                         PROTECTION ACT
                          (AGAINST ASW)

       151.    Art Akiane realleges and incorporates each and every allegation in the paragraphs

above as if they were fully set forth herein.

ANSWER:        Carpentree incorporates by reference its responses to the preceding paragraphs.




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       152.   At the time of ASW’s registration or first use of its domain names, including its

Facebook domain name, Instagram domain name, and the www.jesusprinceofpeace.com domain

name, each of the AKIANE Marks was distinctive.

ANSWER:       Carpentree lacks knowledge or information sufficient for it to form a belief about
              the truth of the allegations set forth in Paragraph 152.


       153.   ASW’s domain names are identical or confusingly similar to the AKIANE Marks.

ANSWER:       Carpentree lacks knowledge or information sufficient for it to form a belief about
              the truth of the allegations set forth in Paragraph 153.


       154.   ASW has registered, trafficked in, or used the domain names with a bad faith intent

to profit from the AKIANE Marks in violation of 15 U.S.C. § 1125(d).

ANSWER:       Carpentree lacks knowledge or information sufficient for it to form a belief about
              the truth of the allegations set forth in Paragraph 154.


       155.   ASW’s bad faith intent is demonstrated by numerous factors, including the

following:

              a.     ASW intends to divert consumers from Art Akiane’s online location to a

                     site accessible under its own domain names that could harm the goodwill

                     represented by the AKIANE Marks, either for ASW’s commercial gain or

                     with the intent to tarnish or disparage the AKIANE Marks, by creating a

                     likelihood of confusion as to the source, sponsorship, affiliation, or

                     endorsement of the site accessible under ASW’s domain names; and

              b.     ASW knows that its domain names are identical or confusingly similar to

                     the AKIANE Marks.

ANSWER:       Carpentree lacks knowledge or information sufficient for it to form a belief about
              the truth of the allegations set forth in Paragraph 155.

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       156.    Upon information and belief, ASW’s actions have been and are willful, deliberate,

and done with knowledge of Art Akiane’s rights.

ANSWER:        Carpentree lacks knowledge or information sufficient for it to form a belief about
               the truth of the allegations set forth in Paragraph 156.


       157.    Art Akiane has no adequate remedy at law. Unless enjoined by this Court, Art

Akiane will continue to do the acts complained of in this Complaint and cause damage and injury,

all to Art Akiane’s irreparable harm and to ASW’s unjust enrichment.

ANSWER:        Carpentree lacks knowledge or information sufficient for it to form a belief about
               the truth of the allegations set forth in Paragraph 157.


                            COUNT VIII
   TORTIOUS INTERFERENCE WITH PROSPECTIVE ECONOMIC ADVANTAGE
                      (AGAINST CORNELIUSON)

       158.    Art Akiane realleges and incorporates each and every allegation in the paragraphs

above as if they were fully set forth herein.

ANSWER:        Carpentree incorporates by reference its responses to the preceding paragraphs.


       159.    Art Akiane had a reasonable business expectancy of entering into a valid business

relationship with customers with whom Art Akiane would have sold artwork to.

ANSWER:        Carpentree lacks knowledge or information sufficient for it to form a belief about
               the truth of the allegations set forth in Paragraph 159.


       160.    Corneliuson had knowledge of this expectancy, which knowledge Corneliuson

acquired because she facilitated communications between Art Akiane and the potential customers.

ANSWER:        Carpentree lacks knowledge or information sufficient for it to form a belief about
               the truth of the allegations set forth in Paragraph 160.




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       161.    Upon information and belief, through dishonest, unfair, and/or improper means,

Corneliuson intentionally interfered with Art Akiane’s prospective relationships with these

customers, including by preventing further communications between Art Akiane and the potential

customers.

ANSWER:        Carpentree lacks knowledge or information sufficient for it to form a belief about
               the truth of the allegations set forth in Paragraph 161.


       162.    Corneliuson’s interference caused injury to Art Akiane’s prospective relationships

with these customers.

ANSWER:        Carpentree lacks knowledge or information sufficient for it to form a belief about
               the truth of the allegations set forth in Paragraph 162.


       163.    Art Akiane has no adequate remedy at law for Corneliuson’s tortious conduct.

Unless Corneliuson is enjoined by the Court, Art Akiane will continue to suffer irreparable harm.

ANSWER:        Carpentree lacks knowledge or information sufficient for it to form a belief about
               the truth of the allegations set forth in Paragraph 163.


       164.    Under Illinois law, Art Akiane may elect to recover exemplary and punitive

damages and attorneys’ fees from Corneliuson for her willful, intentional, and tortious acts.

ANSWER:        Carpentree lacks knowledge or information sufficient for it to form a belief about
               the truth of the allegations set forth in Paragraph 164.


                                  COUNT IX
              VIOLATION OF THE ILLINOIS RIGHT OF PUBLICITY ACT
                      (AGAINST CORNELIUSON AND ASW)

       165.    Art Akiane realleges and incorporates each and every allegation in the paragraphs

above as if they were fully set forth herein.

ANSWER:        Carpentree incorporates by reference its responses to the preceding paragraphs.



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       166.       Corneliuson’s and ASW’s unauthorized use of Akiane’s identity for commercial

purposes is a violation of the Illinois Right of Publicity Act, 765 ILCS § 1075/1-60.

ANSWER:           Carpentree lacks knowledge or information sufficient for it to form a belief about
                  the truth of the allegations set forth in Paragraph 166.


       167.       Corneliuson’s and ASW’s use of Akiane’s identity was unauthorized because

Corneliuson and ASW did not obtain Art Akiane’s consent to use Akiane’s identity in connection

with any advertisement.

ANSWER:           Carpentree lacks knowledge or information sufficient for it to form a belief about
                  the truth of the allegations set forth in Paragraph 167.


       168.       Upon information and belief, Corneliuson’s and ASW’s use of Akiane’s identity

was willful because they used Akiane’s identity intentionally and with knowledge that its use was

not authorized.

ANSWER:           Carpentree lacks knowledge or information sufficient for it to form a belief about
                  the truth of the allegations set forth in Paragraph 168.


       169.       Art Akiane has been damaged by Corneliuson’s and ASW’s unauthorized use of

Akiane’s identity. Art Akiane has no adequate remedy at law.

ANSWER:           Carpentree lacks knowledge or information sufficient for it to form a belief about
                  the truth of the allegations set forth in Paragraph 169.


       170.       Unless enjoined by this Court, Corneliuson and ASW will continue to do the acts

complained of in this Complaint and cause damage and injury, all to Art Akiane’s irreparable harm

and to Corneliuson’s and ASW’s unjust enrichment.

ANSWER:           Carpentree lacks knowledge or information sufficient for it to form a belief about
                  the truth of the allegations set forth in Paragraph 170.



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        171.   Art Akiane may elect to recover statutory damages from Corneliuson and ASW

pursuant to 765 ILCS § 1075/40 in a sum of at least its actual damages, profits derived from the

unauthorized use, or both, and punitive damages.

ANSWER:        Carpentree lacks knowledge or information sufficient for it to form a belief about
               the truth of the allegations set forth in Paragraph 171.


                                   COUNT X
                     CONTRIBUTORY COPYRIGHT INFRINGEMENT
                             (AGAINST DEFENDANTS)

        172.   Art Akiane realleges and incorporates each and every allegation in the paragraphs

above as if they were fully set forth herein.

ANSWER:        Carpentree incorporates by reference its responses to the preceding paragraphs.


        173.   Corneliuson and ASW printed various illicit and counterfeit versions of Art

Akiane’s artwork without permission, and then sold the illicit artwork to consumers on ASW’s

website via various vendors, including Defendant Carpentree.

ANSWER:        To the extent this paragraph is based on actions which Carpentree denies or are
               based on legal conclusions which Carpentree denies, this allegation is denied.
               Carpentree lacks knowledge or information sufficient for it to form a belief about
               the truth of the balance of the allegations set forth in Paragraph 173.


        174.   Carpentree then sold the illicit and counterfeit artwork to consumers and other

resellers.

ANSWER:        Denied.


        175.   Corneliuson, ASW, and Carpentree also took postcards and wallet cards and framed

them to look like legitimate framed artwork by Akiane, in order to deceive customers into thinking




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that they were purchasing legitimate artwork by Akiane, and sold them to consumers without

authority to do so.

ANSWER:         As to Carpentree, denied. To the extent this paragraph is based on actions which
                Carpentree denies or are based on legal conclusions which Carpentree denies, this
                allegation is denied. Carpentree lacks knowledge or information sufficient for it to
                form a belief about the truth of the balance of the allegations set forth in Paragraph
                175.


        176.    Corneliuson’s and ASW’s illicit artwork were of an inferior quality.

ANSWER:         Carpentree lacks knowledge or information sufficient for it to form a belief about
                the truth of the allegations set forth in Paragraph 176.


        177.    Carpentree’s sales to consumers and other resellers were illicit and not approved by

Art Akiane and the copying, modification, redistribution, and sale of Art Akiane’s work directly

infringed Art Akiane’s copyrights.

ANSWER:         Denied.


        178.    On information and belief, Corneliuson and ASW had knowledge of Carpentree’s

infringing activities.

ANSWER:         Carpentree denies it engaged in any infringing activities and as a consequence,
                denies the allegations set forth in Paragraph 178.


        179.    Corneliuson and ASW have contributorily infringed Art Akiane’s copyrights and

exclusive rights under copyright when they on information and belief knowingly and intentionally

facilitated, encouraged, allowed, assisted, and induced Carpentree to infringe Art Akiane’s

copyrights.

ANSWER:         Carpentree denies it engaged in any infringing activities and as a consequence,
                denies the allegations set forth in Paragraph 179.




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       180.    On information and belief, Defendants have directly profited from Carpentree’s

unauthorized and illegal use of Art Akiane’s copyrights.

ANSWER:        Carpentree denies it engaged in any infringing activities and as a consequence,
               denies the allegations set forth in Paragraph 180.


       181.    The infringement of Art Akiane’s rights in each of its copyrighted work constitutes

a separate and distinct act of infringement.

ANSWER:        Carpentree denies it engaged in any infringing activities and as a consequence,
               denies the allegations set forth in Paragraph 181.


       182.    Defendants’ contributory infringement was willful, reckless, intentional, and/or

purposeful, in disregard of, and indifferent to, the rights of Art Akiane.

ANSWER:        Carpentree denies it engaged in any infringing activities and as a consequence,
               denies the allegations set forth in Paragraph 182.


       183.    As a direct and proximate result of Defendants’ contributory infringement of Art

Akiane’s copyrights and exclusive rights under copyright, Art Akiane is entitled to damages and

Defendants’ profits pursuant to 17 U.S.C. § 504(b) for each act of infringement.

ANSWER:        Denied.


       184.    Art Akiane is further entitled to its reasonable attorneys’ fees, and costs of the

action, together with prejudgment and postjudgment interest.

ANSWER:        Denied.

                                   COUNT XI
                    INDUCEMENT OF COPYRIGHT INFRINGEMENT
                        (AGAINST CORNELIUSON AND ASW)

       185.    Art Akiane realleges and incorporates each and every allegation in the paragraphs

above as if they were fully set forth herein.

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ANSWER:         Carpentree incorporates by reference its responses to the preceding paragraphs.


        186.    Corneliuson and ASW printed various illicit and counterfeit versions of Art

Akiane’s artwork without permission, and then sold the illicit artwork to consumers on ASW’s

website via various vendors, including Defendant Carpentree.

ANSWER:         Carpentree denies it engaged in any infringing activities and as a consequence,
                denies the allegations set forth in Paragraph 186.


        187.    Carpentree then sold the illicit and counterfeit artwork to consumers and other

resellers.

ANSWER:         Carpentree denies it engaged in any infringing activities and as a consequence,
                denies the allegations set forth in Paragraph 187.


        188.    Corneliuson, ASW, and Carpentree also took postcards and wallet cards and framed

them to look like legitimate framed artwork by Akiane, in order to deceive customers into thinking

that they were purchasing legitimate artwork by Akiane.

ANSWER:         As to Carpentree, denied. To the extent this paragraph is based on actions which
                Carpentree denies or are based on legal conclusions which Carpentree denies, this
                allegation is denied. Carpentree lacks knowledge or information sufficient for it to
                form a belief about the truth of the balance of the allegations set forth in Paragraph
                188.


        189.    On information and belief, Corneliuson and ASW had knowledge of Carpentree’s

infringing activities.

ANSWER:         Carpentree denies it engaged in any infringing activities and as a consequence,
                denies the allegations set forth in Paragraph 189.




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       190.    On information and belief, Corneliuson and ASW directed and participated in, and

benefited from, Carpentree’s infringing conduct as alleged herein, and has been the guiding spirit

behind and central figure in Carpentree’s infringing activities.

ANSWER:        Carpentree denies it engaged in any infringing activities and as a consequence,
               denies the allegations set forth in Paragraph 190.


       191.    Corneliuson’s and ASW’s acts alleged herein were willful, reckless, intentional,

and/or purposeful, in disregard of, and indifferent to, the rights of Art Akiane.

ANSWER:        Carpentree denies it engaged in any infringing activities and as a consequence,
               denies the allegations set forth in Paragraph 191.


       192.    As a direct and proximate result of Corneliuson and ASW inducing the

unauthorized copying, redistribution, and sale of Akiane’s copyrights and exclusive rights under

copyright, Art Akiane is entitled to damages and Corneliuson’s and ASW’s profits pursuant to 17

U.S.C. § 504(b) for each act of infringement.

ANSWER:        Carpentree denies it engaged in any infringing activities and as a consequence,
               denies the allegations set forth in Paragraph 192.


       193.    Art Akiane is further entitled to its reasonable attorneys’ fees, and costs of the

action, together with prejudgment and postjudgment interest.

ANSWER:        Carpentree denies it engaged in any infringing activities and as a consequence,
               denies the allegations set forth in Paragraph 193.




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                                        COUNT XII
                                   BREACH OF CONTRACT
                                      (AGAINST ASW)

       194.    Art Akiane realleges and incorporates each and every allegation in the paragraphs

above as if they were fully set forth herein.

ANSWER:        Carpentree incorporates by reference its responses to the preceding paragraphs.


       195.    Art Akiane and ASW entered into a valid and enforceable Agreement.

ANSWER:        Carpentree lacks knowledge or information sufficient for it to form a belief about
               the truth of the allegations set forth in Paragraph 195.


       196.    ASW was required to pay a 10% royalty fee to Art Akiane for items sold under the

Agreement.

ANSWER:        Carpentree lacks knowledge or information sufficient for it to form a belief about
               the truth of the allegations set forth in Paragraph 196.


       197.    Upon information and belief, ASW failed to disclose numerous sales to Art Akiane

so that ASW could avoid making royalty payments to Art Akiane as required by the Agreement.

ANSWER:        Carpentree lacks knowledge or information sufficient for it to form a belief about
               the truth of the allegations set forth in Paragraph 197.


       198.    Upon information and belief, ASW has underreported its sales and royalty

payments to Art Akiane and has kept Art Akiane’s royalty revenue for its exclusive and sole benefit

despite completing various sales to customers under the Agreement.

ANSWER:        Carpentree lacks knowledge or information sufficient for it to form a belief about
               the truth of the allegations set forth in Paragraph 198.


       199.    Upon information and belief, Corneliuson and ASW hid at least $464,730.26 in

undisclosed revenue they made from Akiane related products.

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ANSWER:          Carpentree lacks knowledge or information sufficient for it to form a belief about
                 the truth of the allegations set forth in Paragraph 199.


          200.   Upon information and belief, ASW underpaid Art Akiane at least $46,473 in unpaid

royalties.

ANSWER:          Carpentree lacks knowledge or information sufficient for it to form a belief about
                 the truth of the allegations set forth in Paragraph 200.


          201.   ASW has breached the Agreement because it has not paid royalties that are

rightfully owed to Art Akiane under the Agreement.

ANSWER:          Carpentree lacks knowledge or information sufficient for it to form a belief about
                 the truth of the allegations set forth in Paragraph 201.


          202.   Accordingly, Art Akiane is entitled to recover damages from ASW in an amount to

be determined at trial, and is entitled to reasonable sums for attorneys’ fees in the discretion of the

Court.

ANSWER:          Carpentree lacks knowledge or information sufficient for it to form a belief about
                 the truth of the allegations set forth in Paragraph 202.


                                        COUNT XIII
                                 COPYRIGHT INFRINGEMENT
                                  (AGAINST CARPENTREE)

          203.   Art Akiane realleges and incorporates each and every allegation in the paragraphs

above as if they were fully set forth herein.

ANSWER:          Carpentree incorporates by reference its responses to the preceding paragraphs.


          204.   Art Akiane is the assignee of copyrights registered with the United States Copyright

Office.




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ANSWER:       Carpentree lacks knowledge or information sufficient for it to form a belief about
              the truth of the allegations set forth in Paragraph 204.


       205.   Art Akiane is the true, rightful, and sole owner of the copyrights in the Works,

including Copyright Registration Nos. VA 1-921-911, VA 1-960-272, VA 2-142-942, VA 2- 010-

303, VA 2-010-300, VA 1-925-543, VA 2-010-352, VA 1-924-181, VA 1-924-448, VA 1- 924-

158, VA 2-011-840, VA 1-924-183, and VA 2-010-397.

ANSWER:       Carpentree lacks knowledge or information sufficient for it to form a belief about
              the truth of the allegations set forth in Paragraph 205.


       206.   By its actions alleged above, Carpentree has infringed Art Akiane’s copyrights by

knowingly copying, modifying, framing, and willfully reproducing and distributing into the market

infringing content with knowledge that they are either direct copies or derivatives of the

copyrighted materials.

ANSWER:       Denied.


       207.   Carpentree without authority copied copyrighted content owned by Art Akiane for

use in commerce, including on its website at https://www.carpentree.com.

ANSWER:       Denied.


       208.   Carpentree’s acts of copyright infringement have caused and will continue to cause

damage to Art Akiane, in an amount to be proven at trial.

ANSWER:       Denied.


       209.   Carpentree’s acts of copyright infringement have caused and will continue to cause

damage to Art Akiane, in an amount to be proven at trial.

ANSWER:       Denied.

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       210.    Art Akiane is entitled to, among other relief, injunctive relief and an award of actual

damages, Carpentree’s profits, enhanced damages and profits, reasonable attorneys’ fees, and costs

of the action, together with prejudgment and post-judgment interest.

ANSWER:        Denied.


CARPENTREE HEREBY DEMANDS TRIAL BY JURY FOR ALL CLAIMS FOR WHICH A
                     JURY TRIAL IS AVAILABLE.



                                  AFFIRMATIVE DEFENSES

                         FIRST AFFIRMATIVE DEFENSE – LICENSE

       On information and belief, Carpentree’s alleged copying, posting, use or sale involving the

works and/or marks is lawful use per the express terms of a license agreement between Art Akiane

and ASW, attached to ASW’s counterclaim as Exhibit A, as well as the license granted in the other

agreements between the parties and/or an implied license. As a consequence, Carpentree’s alleged

infringing copying, posting, selling or use of the works and/or marks at issue was lawful.


   SECOND AFFIRMATIVE DEFENSE – FIRST SALE/EXHAUSTION DOCTRINE

       The causes of action Art Akiane alleges are barred, in whole or in part, by the First Sale

Doctrine and/or the doctrine of exhaustion. Art Akiane placed its works into the stream of

commerce by selling them and exhausted its exclusive statutory right to control distribution of

those products (to the extent it had such statutory rights by assignment from Akiane Kramarik).

Carpentree cannot be prevented from advertising and selling Art Akiane works.




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              THIRD AFFIRMATIVE DEFENSE – COPYRIGHT FAIR USE

       Any copying, posting, selling or use by Carpentree involving Art Akiane works or Akiane

marks was transformative and was created when the License Agreement and other agreements

were in full force, and/or otherwise permitted by said agreements. Consequently, they did not and

do not harm the market for Art Akiane's works. The copying, posting, selling or use constitutes

permissible fair use.


                  FOURTH AFFIRMATIVE DEFENSE – ACQUIESENCE

       Art Akiane has acquiesced to the alleged copying, posting, selling or use about which it

bases its complaint because these activities were carried out with its full knowledge and

encouragement and without objection until this litigation. In addition, Plaintiff acquiesced to the

manner in which the works were displayed; and Plaintiff and the Kramarik family display the art

in question in the same manner as ASW and/or Carpentree.


                    FIFTH AFFIRMATIVE DEFENSE – PREEMPTION

       The Copyright Act and/or Lanham Act both preempt the state law claims brought by Art

Akiane because the facts that form the basis for the state law claims are the same as those that form

the basis for the Copyright Act and/or Lanham Act claims.


                SIXTH AFFIRMATIVE DEFENSE – COPYRIGHT MISUSE

       The cause of action of copyright infringement Art Akiane is barred, in whole or in part,

because Art Akiane misused its copyright to unlawfully restrict or monopolize the distribution,

sale, and licensing of its products, and therefore used its copyright in a manner which violates the

public policy embodied in the grant of a copyright.




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             SEVENTH AFFIRMATIVE DEFENSE – TRADEMARK MISUSE

       The cause of action of trademark infringement Art Akiane is barred, in whole or in part,

because Art Akiane misused or misrepresented its ownership of the purported trademarks in an

attempt to unlawfully restrict or monopolize the distribution, sale, and licensing of its products,

and therefore used its trademarks in a manner which violates the public policy embodied in the

grant of a trademark.


              EIGHTH AFFIRMATIVE DEFENSE – LACHES & ESTOPPEL

       The doctrines of laches and estoppel bar the claims in the First Amended Complaint. Art

Akiane unreasonably delayed in bringing its claims for injunctive relief. It knew for years of the

copying, posting, selling or use of Art Akiane works and/or Akiane Marks by the Defendants, but

remained silent about those acts and its agents encouraged and, upon information and belief,

facilitated the very conduct of which it complains. Thus, laches prevents the assertion of the claims

asserted and estoppel bars Plaintiff from obtaining the relief it seeks.


                NINTH AFFIRMATIVE DEFENSE – LACK OF STANDING

       Art Akiane fails to provide evidence that Akiane Kramarik properly assigned “all rights,

title and interest” in her art works, likeness and/or her name and any common law trademarks. No

assignments were attached to the Complaint and without lawful assignments Art Akiane lacks

standing to bring any cause of action asserted here against Defendants.


                            TENTH AFFIRMATIVE DEFENSE
                          LACK OF TRADEMARK PROTECTION

       There are no federal or state trademark registrations for the trademarks Art Akiane suggests

exists. Art Akiane has not established the necessary requirements to assert common law rights in



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the marks in question, nor has Art Akiane established that it owns such marks, as opposed to

Akiane Kramarik, or some other person or entity, who is not a party to this lawsuit.


                      ELEVENTH AFFIRMATIVE DEFENSE
                 INADEQUACY OF CLAIM FOR INJUNCTIVE RELIEF

       Art Akiane cannot satisfy the requirements applicable to its requests for injunctive relief

and has an adequate remedy at law, in that money damages, should it prove any of its claims, are

adequate.


        TWELVTH AFFIRMATIVE DEFENSE – STATUTE OF LIMITATIONS

       Art Akiane’s claims are barred in whole or in part by the applicable statute of limitations.


               THIRTEENTH AFFIRMATIVE DEFENSE – NO DAMAGES

       Art Akiane’s claims are barred in whole or in part because it has suffered no damages.


                      FOURTEENTH AFFIRMATIVE DEFENSE
                 NO STATUTORY DAMAGES AND ATTORNEYS FEES

       To the extent Art Akiane’s copyright claims involve infringement prior to the registration

of a copyrighted Art Akiane work, statutory damages and attorney fees are barred.


       FIFTEENTH AFFIRMATIVE DEFENSE – FAILURE TO STATE A CLAIM

       Art Akiane fails to state claims upon which relief may be granted.


                       SIXTEENTH AFFIRMATIVE DEFENSE
                   ADOPTION OF ASW’S AFFIRMATIVE DEFENSES

       Carpentree hereby adopts and incorporates each affirmative defense asserted by

Defendants Art & Soulworks LLC and Carolyne Corneliuson, as if fully set forth herein as

applicable.

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       WHEREFORE Defendant, Carpentree, Inc., prays for judgment in its favor and against Art

Akiane on all counts and for their fees, costs and expenses under the Copyright and Trademark

Act, and for such other relief as the Court deems just and proper.



                                   CROSS-CLAIMS
                     (Art & Soulworks LLC and Carolyne Corneliuson)

                    Count I (Breach of Warranty Against Infringement)

       1.      Cross-Plaintiff is Carpentree, Inc. (“Carpentree”).

       2.      Cross-Defendants are Art & Soulworks LLC and Carolyne Corneliuson

(collectively “ASW”).

       3.      Carpentree has filed its answer to the First Amended Complaint simultaneously

with this cross-claim. In its answer, Carpentree denies all substantive allegations of wrongdoing.

By way of alternative pleading, Carpentree asserts this cross-claim against ASW.

       4.      Beginning in about July, 2011 Carpentree and ASW have had a business

relationship whereby Carpentree purchased from ASW certain products for its own resale.

       5.      This includes the products that are the subject of Plaintiff’s First Amended

Complaint.

       6.      Moreover, on February 27, 2019 ASW sold to Carpentree additional works at a

significant discount purportedly pursuant to an agreement with Art Akiane, LLC (“Art Akiane”).

       7.      ASW never informed Carpentree that any of the works it sold were produced or

being sold beyond the terms of its express, oral, and/or implied licenses with Art Akiane.

       8.      ASW knew that the purpose of Carpentree purchasing the products from ASW

was to resell the products on Carpentree’s website.

       9.      ASW did not disclose to Carpentree any restrictions on the use of the products or

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any claims by Art Akiane that Carpentree’s resale of the products was subject to restrictions

identified in the various license agreements between ASW and Art Akiane.

       10.     ASW is a merchant regularly dealing in the goods of the kind which it sold to

Carpentree.

       11.     By not disclosing any limitation on the use and resale of the products that ASW

sold to Carpentree, ASW breached the warranty against infringement provided by the Illinois

Uniform Commercial Code, 810 ILCS 5/2-312(3).

       12.     Carpentree has incurred damages as a result to ASW’s breach of warranty.

       Wherefore, Carpentree prays for an award of damages in the amount of any judgment

rendered against Carpentree in favor of Art Akiane plus Carpentree’s legal fees and expenses

incurred in defending against Plaintiff’s claims.

                            Count II (Breach of Warranty of Title)
       13.     Carpentree restates paragraphs 1 through 9 of Count I of its cross-claim against

ASW as paragraph 13.

       14.     By not disclosing any limitation on the use and resale of the products that ASW

sold to Carpentree, ASW breached the warranty of title provided by the Illinois Uniform

Commercial Code, 810 ILCS 5/2-312(1).

       15.     Carpentree has incurred damages as a result to ASW’s breach of warranty.

       Wherefore, Carpentree prays for an award of damages in the amount of any judgment

rendered against Carpentree in favor of Art Akiane plus Carpentree’s legal fees and expenses

incurred in defending against Plaintiff’s claims.




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    Count III (Contribution Pursuant to the Illinois Joint Tortfeasor Contribution Act)
         16.   Carpentree restates paragraphs 1 through 9 of Count I of its cross-claim against

ASW as paragraph 20.

         17.   At all relevant times, there was in force and effect a statute commonly known as the

Illinois Joint Tortfeasor Contribution Act, 740 ILCS 100/1 et seq., which provides for the

proportionate assessment of damages among the parties found liable of Illinois state law claims to

an injured plaintiff according to their respective percentage of fault.

         18.   If Carpentree is found liable to plaintiff on its state law claims, then Carpentree is

entitled to contribution from cross-claim defendants ASW in the amount of their pro rata share of

fault.

Wherefore, Carpentree prays that if judgment is entered against it and in favor of plaintiff on

plaintiff’s state law claims, that judgment also be entered in their favor and against cross-claim

defendants ASW in the amount of their pro rata share of the fault, and for such other and further

relief as the Court deems appropriate.

                                               Respectfully submitted,

                                               By: /s/ Michael L. Hahn
                                                   One of the Attorneys for Carpentree, Inc.
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                                 CERTIFICATE OF SERVICE

        I hereby certify that on this 27th day of September, 2019, I electronically filed the foregoing
Notice and Motion with the Clerk of Court using the CM/ECF system, which will send notification
to the following:

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                                                       /s/ Michael L. Hahn __________________




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